  Case: 1:07-cr-00060-SSB Doc #: 555 Filed: 05/01/18 Page: 1 of 1 PAGEID #: 9531

                  Supreme Court of the United States
                         Office of the Clerk
                     Washington, DC 20543-0001
                                                                 Scott S. Harris
                                                                 Clerk of the Court
                                                                 (202) 479-3011
                                    April 24, 2018


Clerk                                                               FILED
United States Court of Appeals for the Sixth Circuit            Apr 27, 2018
524 Potter Stewart Courthouse                              DEBORAH S. HUNT, Clerk
100 East Fifth Street
Cincinnati, OH 45202


      Re: Paul H. Volkman
          v. United States
          No. 17-8614
          (Your No. 17-3022)


Dear Clerk:

     The petition for a writ of certiorari in the above entitled case was filed on
February 28, 2018 and placed on the docket April 24, 2018 as No. 17-8614.




                                        Sincerely,

                                        Scott S. Harris, Clerk

                                        by

                                        Jacob A. Levitan
                                        Case Analyst
